      Case 4:24-cv-04466                  Document 6              Filed on 12/25/24 in TXSD          Page 1 of 7




                                   UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

 JUAN JOSE HARO

 V.                                                                                       CIVIL ACTION 4:24-CV-04466

 EQUISOLAR, INC., SOLAR MOSAIC, LLC,
 and ASHLEY GERSHOONY


                 Joint Discovery/Case Management Plan
                             Under Rule 26(f)
                     Federal Rules of Civil Procedure

      JUAN JOSE HARO, Plaintiff, and Defendants EQUISOLAR, INC. and ASHLEY
GERSHOONY hereby furnish the following information pursuant to Rule 26(f) of the
Federal Rules of Civil Procedure.


1.       State when the conference of the parties required by Rule 26(f) was held, and
identify the counsel who represented each party.


RESPONSE:
                         Benjamin K. Sanchez, Plaintiff’s Counsel, and Lema Mousilli,
                         Defendants’ Counsel, conferred on December 24, 2024.


2.       List the cases related to this one that are pending in any state or federal court
with the case number and court.


RESPONSE:                None.


3.       Specify the allegation of federal jurisdiction.


RESPONSE:                Diversity of citizenship of the Parties, pursuant to 28 U.S.C. § 1332.
                         Plaintiff is an individual citizen residing in Texas. Defendant

 Joint Discovery/Case Management Plan Under Rule 26(f) Federal Rules of Civil Procedure
 No. 4:24-CV-04466 – USDC-SDTX-Houston                           Page 1 of 7                               Haro, Juan
     Case 4:24-cv-04466                   Document 6              Filed on 12/25/24 in TXSD   Page 2 of 7




                         Equisolar, Inc. is a corporation incorporated and existing under the
                         laws of California, with its principal place of business in California
                         and doing business in Texas. Ashley Gershoony is an individual
                         citizen residing in California.


                         Solar Mosaic, LLC has not yet entered an appearance.


4.       Name the parties who disagree and the reasons.


RESPONSE:                Plaintiff does not know who the individual members of Solar
                         Mosaic, LLC are and thus are unable to verify the citizenship of its
                         members.


5.       List anticipated additional parties that should be included, when they can be
added, and by who they are wanted.


RESPONSE:                None.


6.       List anticipated interventions.


RESPONSE:                None.


7.       Describe class-action issues.


RESPONSE:                Plaintiff’s counsel is currently investigating whether the following
                         case was filed as an individual action or class action and will update
                         the Court when it confirms either way: Index No. 24-cv-6208, Claver
                         Campbell v. Solar Mosaic, LLC, et al., in the United States District
                         Court for the Eastern District of New York.


8.       State whether each party represents that it has made the initial disclosures
required by Rule 26(a). If not, describe the arrangements that have been made to
complete the disclosures.



 Joint Discovery/Case Management Plan Under Rule 26(f) Federal Rules of Civil Procedure
 No. 4:24-CV-04466 – USDC-SDTX-Houston                           Page 2 of 7                        Haro, Juan
     Case 4:24-cv-04466                   Document 6              Filed on 12/25/24 in TXSD   Page 3 of 7




RESPONSE:                No party has made the initial disclosures required by Rule 26(a).
                         Plaintiff and Defendants have agreed to serve the initial disclosures
                         no later than Friday, January 17, 2025.


9.       Describe the proposed agreed discovery plan, including:
         A. Responses to all the matters raised in Rule 26(f).
         B. When and to whom the plaintiff anticipates it may send interrogatories.
         C. When and to whom the defendant anticipates it may send interrogatories.
         D. Of Whom and by when the plaintiff anticipates taking oral depositions.
         E. Of Whom and by when the defendant anticipates taking oral depositions.
         F. When the plaintiff (or the party with the burden of proof on an issue) will be
               able to designate experts and provide the reports required by Rule 26(a)(2)(B),
               and when the opposing party will be able to designate responsive experts and
               provide their reports.
         G. List expert depositions the plaintiff (or the party with the burden of proof on
               an issue) anticipates taking and their anticipated completion date. See Rule
               26(a)2)(B) (expert report).
         H. List expert depositions the opposing party anticipates taking and their
               anticipated completion date. See Rule 26(a)(2)(B) (expert report).


RESPONSE:                A. All matters were discussed.
                         B. All Defendants by March 17, 2025.
                         C. Defendants anticipate serving Plaintiff with interrogatories in the
next 60 to 90 days.
                         D. By June 1, 2025, Plaintiff anticipates taking the depositions of
                               Defendant Ashley Gershoony and the designated corporate
                               representatives of Defendants Equisolar, Inc. and Solar Mosaic,
                               LLC. Plaintiff reserves the right to take additional depositions
                               based upon information learned in discovery and depositions.
                         E. Defendants Equisolar, Inc. and Ashley Gershoony anticipate
                               taking the depositions of Plaintiff Juan Jose Haro in the next 90 to
                               120 days.
                         F. By July 1, 2025, Plaintiff will be able to designate experts and
                               provide reports. By August 1, 2025, Defendants Equisolar, Inc.

 Joint Discovery/Case Management Plan Under Rule 26(f) Federal Rules of Civil Procedure
 No. 4:24-CV-04466 – USDC-SDTX-Houston                           Page 3 of 7                        Haro, Juan
      Case 4:24-cv-04466                  Document 6              Filed on 12/25/24 in TXSD   Page 4 of 7




                               and Ashley Gershoony will be able to designate experts and
                               provide reports.
                         G. By September 1, 2025, Plaintiff anticipates taking the depositions
                               of Defendants’ experts.
                         H. By October 1, 2025, Defendants Equisolar, Inc. and Ashley
                               Gershoony anticipate taking the depositions of Plaintiff’s experts.


10.      If the parties are not agreed on a part of the discovery plan, describe the separate
view and proposals of each party.


RESPONSE:                The parties are in agreement.


11.      Specify the discovery beyond initial disclosures that has been undertaken to date.


RESPONSE:                None.


12.      State the date the planned discovery can reasonably be completed.


RESPONSE:                November 1, 2025


13.      Describe the possibilities for a prompt settlement or resolution of the case that
were discussed in your Rule 26(f) meeting.


RESPONSE:                Counsel discussed agreeing to arbitration and thus staying this
                         action in this Court pending the result of arbitration. Plaintiff is also
                         amenable to mediation. The Parties have agreed to dismiss
                         Defendant Ashley Gershoony as a Defendant in this action.


14.      Describe what each party has done or agreed to do to bring about a prompt
resolution.


RESPONSE:                Counsel for the Parties have discussed the issues noted in response
                         to #13 hereinabove by telephone on December 23, 2024.



 Joint Discovery/Case Management Plan Under Rule 26(f) Federal Rules of Civil Procedure
 No. 4:24-CV-04466 – USDC-SDTX-Houston                           Page 4 of 7                        Haro, Juan
      Case 4:24-cv-04466                  Document 6              Filed on 12/25/24 in TXSD   Page 5 of 7




15.      From the attorneys’ discussion with the client, state the alternative dispute
resolution techniques that are reasonably suitable.


RESPONSE:                Plaintiff is amenable to both mediation and arbitration. Defendants
                         Equisolar, Inc. and Ashley Gershoony are amenable to arbitration. It
                         is anticipated that Plaintiff will dismiss his claims against Defendant
                         Ashley Gershoony.


16.      Magistrate judges may now hear jury and non-jury trials. Indicate the parties’
joint position on a trial before a magistrate judge.


RESPONSE:                The Parties are not amenable to a trial before a magistrate judge.


17.      State whether a jury demand has been made and if it was made on time.


RESPONSE:                Plaintiff made a jury demand in the state action but has not yet made
                         a jury demand herein, as the Parties anticipate this case will be
                         removed to arbitration by agreement.


18.      Specify the number of hours it will take to present the evidence in this case.


RESPONSE:                The presentation of all evidence by all Parties is expected to take 40
                         hours.


19.      List pending motions that could be ruled on at the initial pretrial and scheduling
conference.


RESPONSE:                None.


20.      List other motions pending.


RESPONSE:                None.




 Joint Discovery/Case Management Plan Under Rule 26(f) Federal Rules of Civil Procedure
 No. 4:24-CV-04466 – USDC-SDTX-Houston                           Page 5 of 7                        Haro, Juan
      Case 4:24-cv-04466                  Document 6              Filed on 12/25/24 in TXSD        Page 6 of 7




21.      Indicate other matters peculiar to this case, including discovery, that deserve the
special attention of the court at the conference.


RESPONSE:                The Parties have agreed to submit this case to arbitration. Plaintiff
                         has agreed to dismiss his claims against Defendant Ashley
                         Gershoony.


22.      List the names, bar numbers, addresses, and telephone numbers of all counsel.


RESPONSE:                Benjamin K. Sanchez
                         Texas Bar No. 24006288
                         USDC-SDTX No. 23410
                         Sanchez Law Firm
                         150 W. Parker Rd., Ste. 201
                         Houston, TX 77076
                         713-780-7745
                         Counsel for Plaintiff, Juan Jose Haro


                         Lema Mousilli
                         Texas Bar No. 24056016
                         USDC-SDTX No. 1358290
                         Mousilli Law, PLLC
                         11807 Westheimer Rd.
                         Ste. 550, PMB 624
                         Houston, TX 77077
                         281-305-9313
                         Counsel for Defendants, Equisolar, Inc. and Ashley Gershoony


Respectfully submitted,

 /s/ Benjamin K. Sanchez                                                             /s/ Lema Mousilli
 Benjamin K. Sanchez                                                                 Lema Mousilli
 Texas Bar No. 24006288                                                              Texas Bar No. 24056016
 USDC-SDTX No. 23410                                                                 USDC-SDTX No. 1358290
 SANCHEZ LAW FIRM                                                                    MOUSILLI LAW, PLLC

 Joint Discovery/Case Management Plan Under Rule 26(f) Federal Rules of Civil Procedure
 No. 4:24-CV-04466 – USDC-SDTX-Houston                           Page 6 of 7                              Haro, Juan
    Case 4:24-cv-04466                   Document 6              Filed on 12/25/24 in TXSD          Page 7 of 7




150 W. Parker Rd.                                                                   11807 Westheimer Rd.
Ste. 201                                                                            Ste. 550 PMB 624
Houston, TX 77076                                                                   Houston, TX 77077
713-780-7745 (tel)                                                                  281-305-9313 (tel)
service@sanchezlawfirm.com                                                          lema@mousillilaw.com
Attorney for Plaintiff,                                                             Attorney for Defendants,
Juan Jose Haro                                                                      Equisolar, Inc. And
                                                                                    Ashley Gershoony

                                          Certificate of Service

   I hereby certify that the foregoing document was served on all parties via PACER on
December 25, 2024, by /s/ Benjamin K. Sanchez.




Joint Discovery/Case Management Plan Under Rule 26(f) Federal Rules of Civil Procedure
No. 4:24-CV-04466 – USDC-SDTX-Houston                           Page 7 of 7                                Haro, Juan
